          Case 2:16-cr-00145-WBS Document 194-2 Filed 03/18/19 Page 1 of 1


                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


                                              Case #: CR 16-145-01 WBS
UNITED STATES OF AMERICA
Plaintiff,                                    Exhibit and Witness List

v.                                            Courtroom Deputy: Karen Kirksey Smith

STEPHEN DOUGAN,                               Court Reporter: Kimberly Bennett
Defendant.


PRESIDING JUDGE:          GOVERNMENT                           DEFENDANT’S
WILLIAM B . SHUBB         ATTORNEY:                            ATTORNEY(S):

                          Michael Beckwith, AUSA               Patrick Hanly, Retained
                          Chi Soo Kim, AUSA
                          Matthew Segal, AUSA
EVIDENTIARY HEARING DATE(S): March 18, 2019

Govt Deft    Date ID    Date Adm/    Exh No.     DESCRIPTION OF EXHIBITS AND
                           Wits                  WITNESSES
                          Called
      X                   3-18-19                Witness Douglas Youmans c/s/t
 X           3-18-19                    403      Letter to Deborah Allen dated 2-28-06 re
                                                 Automobile Accident of 9-22-04
 X           3-18-19                    340      Letter to Ms. Langsten of IRS dated 6-15-10
 X           3-18-19                  490-02     Checks (5/18/2006)
 X           3-18-19                  490-03     Checks (5/18/2006)
 X           3-18-19                  340-02     Letter to IRS date 6-15-10 (page 2)
 X           3-18-19                  340-03     Letter to IRS date 6-15-10 (page 3)
 X                        3-18-19                Witness Robin Klomparens c/s/t

                                    Page 1
